     Case 2:13-cr-00008-WFN     ECF No. 1180   filed 07/11/13   PageID.4145 Page 1 of 2




 1
 2
 3
 4
 5                          UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                      No. CR-13-008-WFN-9

 9                      Plaintiff,                ORDER DENYING MOTION
10                                                FOR RELEASE
     vs.
11
                                                  ☒        Motion Denied
12 AMBER CHEROKEE BRANCH,
                                                           (ECF No. 1100)
13
                        Defendant.
14
15         Defendant has moved to modify the detention order and for release into
16   inpatient treatment.    She has submitted to the court and served upon the
17   government an assessment that recommends inpatient treatment. There appear to
18   be inconsistencies in the assessment with what was reported by Defendant and
19   what was contained in the Pretrial Services Report.
20         The undersigned is unable to conclude that inpatient treatment will be
21   workable unless the facility is a lock-down facility and there is a plan for agents
22   from the treatment facility or other responsible adults to transport Defendant
23   directly to the facility from jail. Accordingly, the Motion, ECF No. 1100, is
24   DENIED.
25         If the Defendant seeks review of this Order pursuant to 18 U.S.C. § 3145(b),
26   attorney for Defendant shall file a written motion for revocation or amendment of
27   this Order within ten (10) days before the district judge to whom this case is
28   assigned and note it for hearing at the earliest possible date. Both parties are

     ORDER GRANTING MOTION AND SETTING CONDITIONS OF RELEASE - 1
     Case 2:13-cr-00008-WFN    ECF No. 1180    filed 07/11/13   PageID.4146 Page 2 of 2




 1   responsible to ensure the motion is determined promptly.
 2         IT IS SO ORDERED.
 3         DATED July 11, 2013.
 4
 5                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER GRANTING MOTION AND SETTING CONDITIONS OF RELEASE - 2
